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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :      CRIMINAL NO. 23-cr-91-02 (CKK)
                                               :
               v.                              :
                                               :
JIN GUANGHUA,                                  :
                                               :
       Defendant.                              :

                    GOVERNMENT OPPOSITION TO DEFENDANT’S
                            MOTION TO UNMASK

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully submits its Response to the Defendant Jin

Guanghua’s Motion to Unmask (ECF No. 83).1 For the reasons stated herein, the defendant’s

Motion was premature, is now moot, and should be denied.

       The indictment in this case charges the defendant and his co-conspirators related to

dealings with various uncharged entities. Consistent with Department of Justice policy, uncharged

entities and individuals were anonymized and not publicly named in the indictment. See Justice

Manual, 9-27.760-Limitation on Identifying Uncharged Parties Publicly (“In all public filings and

proceedings, federal prosecutors should remain sensitive to the privacy and reputation interests of

uncharged parties. In the context of public plea and sentencing proceedings, this means that, in the

absence of some significant justification, it is not appropriate to identify (either by name or

unnecessarily specific description), or cause a defendant to identify, a party unless that party has

been publicly charged with the misconduct at issue.” (emphasis added)). The government

continues to abide by this policy in its public filings. However, the defense received the identifying



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        The government notes that, although styled as a motion to “unmask” identities of witnesses,
the identities referred to in the defendant’s motion are already known to defense.
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information of all anonymized individuals and entities in discovery, and therefore defense has

never lacked information necessary to fully investigate its case. Motion at 14 (claiming that

defendant “must be permitted to investigate fully”).

       On March 14, 2025, undersigned counsel for the government informed defense that one of

the entities in the indictment, referred to as Company 1, was anticipated to send employee(s) to

testify at trial and had requested they be permitted to testify under a pseudonym given safety

concerns. On May 28, 2025, undersigned counsel for the government informed defense that the

government anticipated that it would file a Motion in Limine regarding the same on or about July

1, 2025. On June 2, 2025, without further consultation or objecting to the timeline proposed by the

government for raising this matter with the Court, defendant filed the instant Motion for Leave to

Unmask Cooperating Company 1. In his motion, the defendant argues that it is the government’s

burden to so move the Court for relief, a point to which the government had previously agreed.2

       Company 1 is a foreign entity represented by counsel. In preparation for filing of its Motion

in Limine, the government conferred further with Company 1 through its counsel. Given various




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        Contrary to the defendant’s claims, the public does not have an unconditional first
amendment right to all information in a criminal case, nor does the defendant’s self-professed
“need” to “tell” the public the identity of third parties provide a reason for any requested relief.
See Motion at 3. Courts have discretion to seal from the public certain information in the trial
proceeding. See, e.g., United States v. Rajaratnam, 708 F. Supp. 2d 371, 374-75 (S.D.N.Y. 2010)
(“But even where the First Amendment gives the public the right to access criminal proceedings
and documents filed in connection with those proceedings, that right is qualified, ’not absolute.’
Courts must balance the right against other important values, like the Sixth Amendment right of
the accused to a fair trial, and the defendant’s and innocent third parties’ privacy interests. Such
values ‘include the defendant’s right to a fair trial [and] privacy interests of the defendant, victims
or other persons.’” (quoting Press-Enterprise Co. v. Superior Court of California for the County
of Riverside, 478 U.S. 1, 9, 14 (1986); United States v. Doe, 63 F.3d 121, 128 (2d Cir.1995)). As
defense is aware, under the appropriate circumstances, the government regularly obtains orders in
this District to permit witnesses to testify under a pseudonym, when the witnesses make such a
request of the government. See, e.g., United States v. Abu Khatallah, No. 14-cr-00141, 2017 WL
11494061, at *3 (D.D.C. Sept. 28, 2017).

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circumstances, Company 1 represented to undersigned counsel that it was withdrawing its request

for its employee(s) to testify under a pseudonym.

       Thus, the defendant’s instant motion is moot and should be denied.

                                            Respectfully submitted,

                                            JEANNINE FERRIS PIRRO
                                            United States Attorney

                                     By:     /s/ Karen P. Seifert
                                            Karen Seifert
                                            N.Y. Bar No. 4742342
                                            Steven B. Wasserman
                                            D.C. Bar No.453251
                                            Assistant United States Attorneys
                                            National Security Section
                                            601 D Street, NW, 5th Floor
                                            Washington, DC 20530
                                            202-252-7527
                                            karen.seifert@usdoj.gov

                                            Christina Clark
                                            D.C. Bar No. 995326
                                            Trial Attorney
                                            U.S. Department of Justice
                                            National Security Division
                                            950 Pennsylvania Avenue, NW
                                            Washington, DC 20530




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